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     T.L.T. a / k / a T.L.S.T., Petitioner  v.  The People of the State of Colorado, Respondent  In the Interest of Minor Child: D.M-K.B. No. 24SC627Supreme Court of Colorado, En BancNovember 4, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 23CA2018
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    